EXHIBIT 32
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                                                                     JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS



                                                              Table of Contents


    I.       Executive Summary .............................................................................................. 1
    II.      Methodology and Scope ....................................................................................... 6
    III.     What is a Crisis Intervention Team (CIT) Program? ................................................ 8
    IV.      Introduction of CIT to NYPD ................................................................................ 10
    V.       Programmatic Deficiencies in NYPD’s CIT Model ................................................. 12
             A. NYPD is Not Systematically Assigning CIT-trained Officers to Mental Health
                 Crisis Incidents ...................................................................................................... 12
             B. NYPD is Not Currently Coordinating and Integrating Its CIT Efforts
                 Department-wide ..................................................................................................................... 14
             C. NYPD Has Not Adjusted Its Policies to Reflect the Goals of CIT Programs.. ........... 17
             D. NYPD’s Form for Crisis Incidents Will Not Allow for Adequate Data Analysis
                 of Its CIT Initiative .................................................................................................................... 23
    VI.      Deficiencies in NYPD’s CIT Training...................................................................... 28
             A. NYPD Should Consider Training More Officers in CIT .................................................... 30
             B. 911 Call Takers Do Not Receive Specialized CIT Training ............................................. 31
             C. Officers Undergoing CIT Training Do Not All Get Exposure to People Living
                With Mental Illness .................................................................................................................. 31
             D. NYPD Does Not Conduct Any Post-Training Assessment of CIT-Trained
                Officers ........................................................................................................................................ 32
             E. NYPD Does Not Provide a Manual or Reference Guide for Officers Undergoing
                CIT Training................................................................................................................................. 33
    VII.     Recommendations .............................................................................................. 34
    VIII.    Appendices
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


                               PUTTING TRAINING INTO PRACTICE:
                   A REVIEW OF NYPD’S APPROACH TO HANDLING INTERACTIONS
                                WITH PEOPLE IN MENTAL CRISIS


    I.       EXECUTIVE SUMMARY

    Every day, the New York City Police Department (NYPD) responds to hundreds of calls
involving people in mental crisis.1 Because these calls present unique challenges and dangers for
both officers and the people that they serve, NYPD has recognized that officers would benefit
from having additional, specialized training to better equip them to manage these situations.
Since the summer of 2015, NYPD has been working to enhance the training it provides officers in
handling these complicated and often volatile encounters by creating and implementing Crisis
Intervention Team (CIT) training, part of a nationally-recognized approach to de-escalating
encounters between police officers and people in mental crisis. The New York City Department
of Investigation's (DOI) Office of the Inspector General for the NYPD (OIG-NYPD) has been actively
investigating NYPD's approach to CIT.

        On October 19, 2016, as OIG-NYPD was completing this investigation into NYPD’s
implementation of CIT, the dangers inherent in these calls were once again highlighted by the
fatal officer-involved shooting of Deborah Danner, a 66 year-old African-American woman with
a history of schizophrenia. Of note, the police sergeant who responded to the scene and fired
the fatal shots had not yet received the Department’s recently implemented CIT training. This
DOI OIG-NYPD investigation, however, does not seek to investigate the specific circumstances of
the Danner shooting. That task will be carried out by NYPD’s Internal Affairs Bureau and the
Bronx County District Attorney. Instead, OIG-NYPD’s aim in this Report is to provide a systemic
assessment of NYPD’s implementation of CIT. OIG-NYPD’s findings—most notably NYPD’s failure
to fully integrate and use this training within the totality of NYPD’s everyday policing—are
detailed herein.

       In 2016, NYPD received approximately 157,000 calls involving people in mental crisis.2
While NYPD responds to the overwhelming majority of these types of calls without discharging
weapons or causing serious injury, the Danner incident demonstrates the potential for a lethal
outcome in such situations. Nationwide, in 2015, police officers shot and killed 251 people who
had exhibited signs of mental illness. This number represents fully one-quarter of the 991 people

1
  NYPD refers to the mentally ill as “Emotionally Disturbed/Distressed Persons” or “EDPs” in their trainings, policies,
and descriptions. However, this Report uses phrases such as “persons in mental crisis,” “persons in crisis,” or “people
living with mental illness” except when citing NYPD policies, procedures, and forms.
2
   NYPD received approximately 143,000 calls in 2014 and 145,000 calls in 2015. According to NYPD’s Office of
Management Analysis and Planning (OMAP), 125,508 of the 157,000 calls in 2016 were “founded” as “EDP”
incidents.

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PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                            JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


shot to death by police officers in 2015.3 The Federal Bureau of Investigation (FBI) also found
that in 2015, 1,710 law enforcement officers across the United States were assaulted while
“handling persons with mental illness,” and two were killed while doing so. 4 In several cities, the
failure to adequately manage police interactions with the mentally ill has resulted in U.S.
Department of Justice (DOJ) findings, settlement agreements, and consent decrees in which
federal monitors have been installed to oversee court-mandated improvements in the way those
cities’ police departments police.5

         Recognizing that NYPD’s CIT initiative is still relatively new, DOI’s OIG-NYPD found that,
thus far, NYPD has implemented the core components of the training aspects of the CIT model in
a manner that meets national standards and is very well executed by its trainers. OIG-NYPD,
however, also identified several fundamental programmatic and training flaws in NYPD’s CIT
initiative. Most importantly, NYPD does not deploy these specially-trained police officers to
incidents involving people in crisis. There is no organized mechanism to ensure that CIT officers
are called to scenes where their training is needed. The improved training provided by CIT is
important, but NYPD, should not place its sole emphasis on training without also integrating a
number of other aspects of a fully functional CIT program. Therefore, NYPD should take clear
and immediate steps to ensure that, wherever possible, officers with appropriate training to
manage mental health crises are deployed to incidents where a person is suspected of being in
crisis—including better institutionalizing CIT principles across the Department’s operations and
policies.

        A year-and-a-half after implementing the new CIT training, NYPD has not begun to
effectively deploy CIT training beyond the classroom. Without any plan for directing CIT-trained
officers to situations where they are needed, NYPD is underutilizing the newly-acquired skills of
CIT-trained officers. Moreover, NYPD has not adopted new Patrol Guide provisions and other




3
  Kimberly Kindy, Marc Fisher, et. al., A Year of Reckoning: Police Fatally Shoot Nearly 1,000, WASH. POST, December
26, 2015, available at http://www.washingtonpost.com/sf/investigative/2015/12/26/a-year-of-reckoning-police-
fatally-shoot-nearly-1000/. (The database can be accessed at https://www.washingtonpost.com/graphics/
national/police-shootings/.    A description of the methodology employed in the study is available at
https://www.washingtonpost.com/national/how-the-washington-post-is-examining-police-shootings-in-the-
united-states/2016/07/07/d9c52238-43ad-11e6-8856-f26de2537a9d_story.html. )
4
    Fed. Bureau of Investigation (FBI), 2015 LAW ENFORCEMENT OFFICERS                      KILLED   AND   ASSAULTED,
https://ucr.fbi.gov/leoka/2015/officers-feloniously-killed/felonious_topic_page_-2015.
5
  See e.g., U.S. Dep’t of Justice, Civil Rights Division (DOJ), Investigation of the Baltimore City Police Department
(2016); Consent Decree, United States v. City of Ferguson, 4:16-cv-000180 (E. D. Mo. 2016); Consent Decree, United
States v. City of Cleveland, 1:15-cv-01046 (N. D. Ohio 2015); Settlement Agreement, United States v. City of
Albuquerque, 1:14-cv-01025 (D. N.M. 2014); Settlement Agreement, United States v. City of Seattle, 12-cv-1282 ;t͘
͘tĂƐŚ͘ 2012); Settlement Agreement, United States v. City of Portland, 3:12-cv-02265-SI (D. Or. 2012).


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PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


procedures aligned with CIT principles. As a result, NYPD is currently asking CIT-trained officers
to follow policies that do not include the principles of the specialized training they are receiving.

        In sum, DOI’s OIG-NYPD investigation yielded the following findings:

¾ NYPD is not directing CIT-trained officers to incidents involving people in crisis.

       NYPD has yet to devise and implement a system in which it directs CIT-trained officers to
mental crisis incidents. In fact, it is presently random whether officers assigned by dispatch to
mental crisis incidents are CIT trained. While NYPD has discussed potential changes to its
dispatch procedures (as discussed further below), the Department currently has no official plans
to build any capacity into its dispatch system to assign CIT-trained officers to mental crisis
incidents. As it stands, NYPD handles more than 400 mental crisis calls a day, but there is no
capability for dispatchers to direct CIT-trained officers to these incidents.

¾ NYPD is not currently coordinating its CIT efforts Department-wide.

         While NYPD’s Office of Collaborative Policing and the City’s Department of Health and
Mental Hygiene (DOHMH) designed the Police Department’s CIT training, no dedicated official or
unit within NYPD has, as its sole responsibility, the management of day-to-day CIT operations. As
a result, no one in the Department is specifically accountable for identifying aspects of the CIT
initiative to be improved over time, nor is there an identifiable NYPD official to whom police
officers and those outside the Department can direct questions, concerns, or suggestions about
CIT. This is a critical shortcoming, particularly for a police department of NYPD’s size. NYPD needs
a designated CIT coordinator to create a deployment plan, oversee the revisions of current
policies, and improve data collection and analysis. With the leadership of such an official, or the
creation of an overall unit, the Department’s current CIT effort can be transformed into a full-
scale CIT program that consistently improves the response of officers to people in crisis.

¾ NYPD has not adjusted its written policies in the Patrol Guide to reflect the CIT training or
  the goals of a CIT program.

       NYPD’s main policy governing how officers should interact with people in crisis does not
incorporate either its new CIT training or the overall goals of a CIT program. For example, the
relevant Patrol Guide section does not mention either the need to have CIT-trained officers
respond to scenes or the use of de-escalation techniques, subject assessment, active listening, or
rapport building. Nor does the relevant Patrol Guide section provide officers with guidance on
how to potentially use their discretion in crisis incidents. Because NYPD has not integrated CIT



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PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                               JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


policies into the Patrol Guide, CIT training remains isolated and thus less likely to be used when
needed.

¾ NYPD cannot perform adequate data analysis on its CIT initiative or on how officers handle
  CIT interactions with its current forms involving people in crisis.

        The primary forms that NYPD currently uses to track incidents with people in crisis are
inadequate. For example, they do not contain fields that are specific to CIT, and they collect
limited, if any, information about a person’s behaviors or the techniques used by the officer to
manage the situation. In addition to a lack of detail on the primary forms, any additional data
that do exist about mental health-related encounters are fragmented across numerous
Department documents, depending on the individual circumstances of each incident. Without a
more detailed form on crisis incidents in particular, NYPD cannot measure the performance of its
officers or ascertain whether its training and procedures are effectively meeting the needs of the
public, and in particular, those who suffer from mental illness and come into contact with police
officers.

¾ There are several important deficiencies in the content of NYPD’s CIT training.

        NYPD’s CIT classroom instruction meets the basic standards of CIT trainings nationwide.
However, several important aspects of CIT training are still missing. Most critically, the
Department’s dispatchers, as well as the 911 call takers who receive emergency calls from the
public, are not being trained in CIT. Other shortcomings in the CIT training include: (1) the lack
of consistent opportunities for officers to interact with people living with mental illnesses in every
class whenever practicable; (2) officers trained in CIT do not receive any guide or manual for
future reference; and (3) there is no form of assessment to measure skill retention or the overall
effectiveness of the training.

        Based on these findings, OIG-NYPD makes the following recommendations to NYPD:

    1. NYPD should commit to creating timelines for any changes to its CIT initiative within 90
       days of the publication of this Report.

    2. NYPD should adjust its dispatch procedures to ensure that officers with CIT training are
       directed to crisis incidents.

    3. NYPD should create a dedicated mental health unit, or at the very least appoint a CIT
       coordinator who holds the rank of chief, in order to manage all aspects of a CIT program.



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PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                         JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


    4. NYPD should revise its Patrol Guide to explicitly authorize CIT-trained officers to use the
       skills learned in CIT training during crisis situations.

    5. NYPD should revise its Patrol Guide to require that CIT-trained officers respond to all
       crisis incidents whenever possible.

    6. NYPD should revise its Patrol Guide to allow all officers to use their discretion to refer
       individuals to officially approved and vetted outside community resources in appropriate
       incidents.

    7. NYPD should either substantially revise one of its current forms or develop a new
       permanent form to capture more detailed data on incidents involving persons in crisis.

    8. NYPD should analyze data regarding mental crisis incidents.

    9. NYPD should consider training more officers in CIT.

    10. NYPD should begin training 911 call takers and dispatchers in at least some aspects of CIT.

    11. In every CIT training, NYPD should ensure that its officers interact with people living with
        mental illnesses.

    12. Following every CIT training, NYPD should assess the retention of officers’ skills.

    13. NYPD should provide a manual or reference guide to officers who undergo CIT training.

        After the Deborah Danner incident in October 2016, the Department formed a “Chief of
Department” working group that, as of the date of the release of this Report, has had two
discussions on how to improve NYPD’s CIT initiative.6 NYPD has now indicated to OIG-NYPD that
it is considering changes, including the potential appointment of a dedicated coordinator,
adjustments to its Patrol Guide policies, and changes to its dispatch procedures. These are
important steps. However, 18 months after initiating CIT training, NYPD has not yet provided
OIG-NYPD with any specific details or timeline for these considered changes. Given the
importance of this issue, the Department must now commit itself to an explicit timeline and a set
of specific actions.




6
 Since 2015, NYPD has also had an internal working group on the content of the CIT training itself and has been a
participant in the Mayor’s Task Force on Behavioral Health and the Criminal Justice System.

                                                         5
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                            JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


    II.      METHODOLOGY AND SCOPE

        For this investigation, OIG-NYPD interviewed NYPD officials responsible for implementing
various aspects of the CIT initiative. These meetings included high-ranking officials from the
Office of Collaborative Policing and the Bureaus of Information Technology, Training, and Patrol
Services. OIG-NYPD also had discussions with officials from the Mayor’s Office of Criminal Justice
(MOCJ), the City’s Department of Health and Mental Hygiene (DOHMH), and the Fire Department
of New York-Emergency Medical Dispatch Command’s (FDNY-EMS) Training Unit.

         OIG-NYPD also conducted a focus group with NYPD patrol officers who have been trained
in CIT from: (1) the 23rd, the 25th, and the 28th precincts (which were the precincts for NYPD’s
initial CIT pilot program); (2) the Transit and Housing Bureaus; and (3) the Crisis Outreach and
Support Unit, which focuses primarily on encounters with homeless New Yorkers (who often have
higher rates of mental illness).7 OIG-NYPD led a group discussion with these officers to
understand their perspectives on the CIT training, how it affected their responses to people
displaying signs of mental illness, and how the CIT initiative could be improved. OIG-NYPD also
interviewed mental health advocates, including representatives from the New York City branch
of the National Alliance on Mental Illness (NAMI) and Community Access, and attended public
forums to hear the perspectives of people living with mental illness regarding both the need for
and the development of NYPD’s CIT training.

       In addition, OIG-NYPD staff attended the full four-day CIT training course at NYPD’s Police
Academy on four separate occasions over the course of 15 months.8 OIG-NYPD investigators
spoke to participating officers from NYPD as well as trainers from NYPD and both the John Jay
College of Criminal Justice (which helped organize the initial training) and the Center for Urban



*
  NYC Department of Investigation Commissioner Mark G. Peters and Inspector General for the NYPD Philip K. Eure
thank the staff of OIG-NYPD for their efforts, persistence, and insight in helping to produce this Report, especially
Sandra Musumeci, Deputy Inspector General; Asim Rehman, General Counsel; Daniel Boylan, Director of
Investigation; Candace McCoy, Director of Policy Analysis; Rebecca Engel, Assistant Counsel; Joseph Lipari, Senior
Policy Manager; Adrian Amador, Policy Analyst; Andrew Guinan, Special Investigation; John Kim, Special Investigator;
Cameron Watkins, Special Investigator; Christopher Tellet, Investigative Attorney; Nicole Napolitano; Senior Policy
Manager; Tyler Gibson, Policy Analyst; and Senora Harvey, Clerical Assistant, as well as other current and former
staff. The contributions made by Lesley Brovner, First Deputy Commissioner, Richard Condon, Special
Commissioner, and Michael Carroll, Chief of Investigation, are also appreciated. Our gratitude is also extended to
the New York City Police Department and other agencies and organizations noted for their cooperation during the
preparation of this Report.
7
  According to 2016 statistics from the Mayor’s Office, 35 percent of clients in New York City’s homeless shelters
suffer from a serious mental illness. See N.Y.C. OFFICE OF THE MAYOR, THRIVENYC: A MENTAL HEALTH ROADMAP FOR ALL, at
9 (2016), available at https://thrivenyc.cityofnewyork.us/wp-content/uploads/2016/03/ThriveNYC.pdf.
8
  OIG-NYPD staff attended NYPD’s CIT training in September 2015, December 2015, May 2016, and December 2016.

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PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


Community Services (CUCS) (which replaced John Jay College in 2016). OIG-NYPD additionally
conducted a careful review of the Police Academy’s CIT syllabus and course materials.

       OIG-NYPD also examined the CIT programs of nine city police departments that serve
large populations, have well-established CIT programs, or have improved police interactions with
the mentally ill while under a federal consent decree.9             Finally, in developing its
recommendations for NYPD, OIG-NYPD considered the findings and model policies contained in
numerous studies from professional organizations, federal, state, and local government entities,
advocacy organizations, and mental health experts.10




9
  OIG-NYPD examined the CIT programs of police departments in Memphis, Tennessee; Houston, Texas; Los Angeles,
California; Washington, D.C.; Phoenix, Arizona; Seattle, Washington; Portland, Oregon; Akron, Ohio; and Atlanta,
Georgia.
10
   OIG-NYPD reviewed studies, recommendations, and model CIT programs formulated by numerous entities,
including but not limited to, RANDOLPH DUPONT ET AL, THE UNIV. OF MEMPHIS, CRISIS INTERVENTION TEAM: CORE ELEMENTS,
available at HTTP://CIT.MEMPHIS.EDU/PDF/COREELEMENTS.PDF (2007); THE POLICE EXEC. RESEARCH FORUM, GUIDING PRINCIPLES
ON USE OF FORCE, available at http://www.policeforum.org/assets/guidingprinciples1.pdf (2016); THE PRESIDENT’S TASK
FORCE       ON        21ST       CENTURY        POLICING:      FINAL     REPORT       (2016),        available       at
http://www.cops.usdoj.gov/pdf/taskforce/taskforce_finalreport.pdf; INT’L ASS’N OF CHIEFS OF POLICE, BUILDING SAFER
COMMUNITIES: IMPROVING POLICE RESPONSE TO PERSONS WITH MENTAL ILLNESS (2010), available at
http://www.theiacp.org/portals/0/pdfs/ImprovingPoliceResponsetoPersonsWithMentalIllnessSummit.pdf;                 THE
COUNCIL OF STATE GOV’TS CRIMINAL JUSTICE, MENTAL HEALTH CONSENSUS PROJECT (2002), available at
https://www.ncjrs.gov/pdffiles1/nij/grants/197103.pdf; MELISSA REULAND ET AL., COUNCIL OF STATE GOV’TS JUSTICE CTR.,
LAW ENFORCEMENT RESPONSES TO PEOPLE WITH MENTAL ILLNESSES: A GUIDE TO RESEARCH-INFORMED POLICY AND PRACTICE (2009),
available at https://csgjusticecenter.org/wp-content/uploads/2012/12/le-research.pdf; MELISSA REULAND ET AL.,
COUNCIL OF STATE GOV’TS JUSTICE CTR. & POLICE EXEC. RESEARCH FORUM, IMPROVING RESPONSES TO PEOPLE WITH MENTAL ILLNESSES
(2010), available at https://www.bja.gov/Publications/CSG_LE_Tailoring.pdf; MELISSA REULAND, A GUIDE TO
IMPLEMENTING POLICE-BASED DIVERSION PROGRAMS FOR PEOPLE WITH MENTAL ILLNESS (2004), available at
http://www.pacenterofexcellencepitt.edu/documents/Apercent20Guidepercent20topercent20Implementingperce
nt20Police-Basedpercent20 Diversionpercent20Programs.pdf (2004); N.Y./N.Y.C. MENTAL HEALTH-CRIMINAL JUSTICE
PANEL REPORT AND RECOMMENDATIONS (2008), available at http://mentalillnesspolicy.org/kendras-
law/nyc_nys_mh_crime_rprt_2008.pdf; DISTRICT OF COLUMBIA, OFFICE OF POLICE COMPLAINTS, ENHANCING POLICE RESPONSE
TO PEOPLE WITH MENTAL ILLNESS (2006), available at http://policecomplaints.dc.gov/node/164642.


                                                          7
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                             JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


     III.    WHAT IS A CRISIS INTERVENTION TEAM (CIT) PROGRAM?

     First developed after the fatal shooting of a person in mental crisis by a police officer in
Memphis, Tennessee nearly 30 years ago, CIT’s ultimate goal is to protect the safety of both
police officers and the people they encounter. At the same time, CIT focuses on diverting people
in mental crisis away from hospitals and jails, where people living with mental illness are normally
placed, even when they have not committed a serious criminal offense. For many years now, CIT
programs have been considered a national best practice. As of 2015, 2,633 police departments
in localities throughout the U.S. have adopted a CIT model, due to its national acceptance as a
best practice.11 The primary goals of a CIT model are, where appropriate: 1) to improve officer
and public safety by reducing the likelihood of use of force against people in crisis, and 2) to
reduce unnecessary arrests and incarceration by increasing opportunities for diversion to a range
of mental health services.12 While the specifics of CIT programs may vary from jurisdiction to
jurisdiction, the goals remain the same and require both training and the institutionalization of
the program into department operations.

        The Memphis Model—which the Memphis Police Department (MPD) created along with
the National Alliance on Mental Illness—emphasizes that departments train at least 20 to 25
percent of all patrol officers in CIT.13 CIT training is typically a five-day course of 40 hours. Officers
are instructed in modules that emphasize the clinical aspects of varying mental health disorders,
their common symptomatic presentations and treatment approaches, and suicide/harm
prevention tactics. The training also emphasizes de-escalation strategies through role-playing
scenarios involving people in crisis (in clinical or informal settings) in order to increase officers’
capacity to successfully resolve encounters.

       In addition to training, the integration of a full-scale CIT program into a department
involves several other components. Having a dedicated CIT coordinator or unit to manage the
day-to-day operations of the program is a core component of CIT programs nationwide. The CIT
coordinator’s responsibilities include developing and evaluating the program department-wide,


11
   THE UNIV. OF MEMPHIS CIT CTR., http://cit.memphis.edu/ (last accessed Oct. 10, 2016). The effectiveness of CIT on
reducing arrests and use of force while increasing access to mental health resources has been demonstrated in a
number of studies. See e.g., H.J. Steadman, M.W. Deane et al., Comparing Outcomes of Major Models of Police
Responses to Mental Health Emergencies, 51 PSYCHIATRIC SERVICES 649 (2000); N. Broner, P.K. Lattimore et al., Effects
of Diversion on Adults with Co-occurring Mental Illness and Substance Use: Outcomes from a National Multi-site
Study, 22 BEHAVIORAL SCIENCES AND THE LAW 519 (2004); M.S. Morabito, A.N. Kerr et al., Crisis Intervention Teams and
People with Mental Illness: Exploring the Factors that Influence the Use of Force, 58 CRIME AND DELINQUENCY 57 (2012);
Seattle Police Department, CRISIS INTERVENTION PROGRAM REPORT 2015 (Aug. 2016); Portland Police Bureau, THE EFFECTS
OF MANDATORY TRAINING ON USE OF FORCE, ARRESTS, AND HOLDS FOR MENTAL HEALTH (May 2013).
12
   See Dupont, supra note 10, at 3.
13
   See id. at 10.

                                                          8
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                            JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


troubleshooting problems as they arise, communicating with officers, and developing and
maintaining relationships with community members with an interest in these issues.

        Moreover, a department with a CIT program should create official policies that specifically
reflect CIT principles and training. While these policies can address any number of different
issues, their overall goal must be to “provide guidance to officers on how to identify and interact
with an individual in crisis,” and how to “place greater emphasis on de-escalation techniques and
require officers to consider less intrusive alternatives before employing force.” 14

        Finally, CIT stresses data collection, evaluation, and research to “help to measure [the
program’s] impact, continuous outcomes, and efficiency.”15 The collection of these data can and
has been used to measure any number of different elements, from response times to use-of-
force rates to dispositions in the field. A dedicated CIT coordinator, the creation of CIT-related
directives, and robust data collection and evaluation are essential aspects of any mental-health
policy, and are part of nearly all DOJ consent decrees involving police departments nationwide.




14
     Proposed Settlement Agreement, U.S. v. City of Portland, 3:12-cv-02265-SI, at 41 (D. Or. 2012).
15
     Dupont, supra note 10, at 17.

                                                           9
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


     IV.     INTRODUCTION OF CIT TO NYPD

        Until the summer of 2015, NYPD had one basic form of training for police officers on how
to handle encounters with people in mental crisis. Since 2002, both recruits and promoted
officers within the Department received a one-day training led by instructors from John Jay
College of Criminal Justice. The earlier form of training involved a short, basic lecture on mental
illnesses in the morning and then had a few of the officers engage in a total of four role-playing
scenarios in the afternoon, involving schizophrenia, manic-depression, and a suicidal officer. The
officers did not have the opportunity to interact with anyone living with mental illness, nor did
they receive any evaluation or testing after the training was complete. Instead, routine training
for patrol officers essentially amounted to an introduction to the basics of mental illnesses and
the need for officers to understand the often difficult nature of their interactions with people
who might be in the midst of a mental crisis.

        By contrast, since 1986, officers from NYPD’s elite Emergency Services Unit (ESU) have
undergone a full-scale five-day training on mental illnesses.16 This training for ESU officers
somewhat mirrors the standards of national CIT training, in that it delves much deeper into the
signs and symptoms of mood disorders and mental illnesses. Every officer in ESU has to
participate in at least two to three scenarios involving people facing severe mental crises and
becomes certified as an Emergency Psychological Technician at the end of the training.

       When the proposal to introduce CIT training to patrol officers first surfaced through the
Mayor’s Task Force on Behavioral Health and the Criminal Justice System in 2015, NYPD
partnered with DOHMH to adapt CIT to suit the requirements of a larger, more complex city.17
NYPD engaged in an extensive process to develop its CIT training and curriculum, occurring over
many months of research and involving consultation with experts, people in need of mental
health services, and jurisdictions across the country that already have such programs in place.
NYPD identified several cities, including Los Angeles, Houston, Phoenix, and Atlanta, with existing
CIT programs that had successfully improved police responses to people in crisis.




16
   NYPD’s Emergency Service Unit (ESU) is composed of specialized teams that respond to calls involving barricaded
suspects, people in crisis, construction accidents, and other citywide emergencies. As a result of its focus on
emergency situations, ESU’s mental health training focuses more than CIT training on the volatile situations that ESU
officers may face.
17
   The Mayoral Action for Mental Health, “ThriveNYC,” directs both the training of 5,500 NYPD officers in CIT and the
development of public health drop-off centers, where officers can transport individuals, when appropriate, as an
alternative to either hospitalization or incarceration. Diversion centers, which have not yet been built, will operate
24 hours a day, seven days a week and will link people in crisis to necessary resources while providing beds for short-
term stays. See THRIVENYC: A MENTAL HEALTH ROADMAP FOR ALL, supra note 7, at 47.

                                                          10
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                         JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


        Since the start of NYPD’s CIT training in the summer of 2015, more than 4,700 NYPD
officers have completed CIT training, which emphasizes de-escalation, voluntary compliance,
active listening, mental health awareness, empathy, and tolerance. Class sizes are small, with a
standard maximum of 30 participants taught by an interdisciplinary staff of clinicians from the
Center for Urban Community Services (CUCS), and officer instructors with expertise in mental
health conditions who are assigned to the Police Academy. NYPD plans to provide CIT training to
a total of 5,500 officers by early 2017.




                                                        11
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                                     JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


       V.       PROGRAMMATIC DEFICIENCIES IN NYPD’S CIT MODEL

        Despite several positive elements of NYPD’s CIT training, OIG-NYPD’s investigation
revealed several crucial areas where NYPD has not met the basic programmatic standards of CIT
programs nationwide. Senior representatives from NYPD’s Office of Collaborative Policing, the
unit responsible for developing the Department’s CIT initiative, stated to OIG-NYPD that the
primary purpose of CIT training is the training itself. However, in order to meet the goals of CIT,
NYPD’s version must include more than training: CIT comprises an entire program of institutional
and interconnected changes that must be implemented within a law enforcement agency in
order to be effective and sustainable. NYPD has said that it is currently discussing addressing
several of these deficiencies, but the Department has not, as yet, committed to a timeline for
actual implementation.

            A. NYPD IS NOT SYSTEMATICALLY ASSIGNING CIT-TRAINED OFFICERS TO MENTAL
               HEALTH CRISIS INCIDENTS

         Although NYPD has expended significant time and resources towards developing its CIT
training, NYPD’s broader CIT effort lacks an essential element: the Department has yet to devise
a process by which NYPD communications personnel can direct CIT-trained officers to CIT
incidents. Currently, when 911 call takers receive a call for service involving a person in mental
crisis, any available officer can respond, whether the officer is CIT trained or not. According to
NYPD, more than a year-and-a-half into the training, dispatchers still cannot assign CIT-trained
officers to crisis calls because they have no way of determining which patrol cars in the field
contain CIT-trained officers. This is highly problematic. Deploying CIT-trained officers to mental
health emergencies is a basic and critical component of the effective implementation of CIT. The
officers best equipped to safely de-escalate and resolve a mental health crisis without using force
are specially-trained CIT officers.
        In other cities, police departments assign, or at least attempt to deploy, a CIT-trained
officer to every crisis call. For example, in the Seattle Police Department’s (SPD) system, 911
dispatchers can look up which officers have specific skills or equipment (i.e., officers equipped
with a Taser or rifle, or who speak a specific language or are CIT-certified, etc.). Through this
“Duty Skills Query,” 911 dispatchers can identify all officers on patrol with CIT skills. 18
Additionally, SPD’s policy sets forth an expectation that if a call involves a person in mental crisis,
a CIT-certified officer will be dispatched and will respond, if and when such an officer is
available.19 For public safety reasons, however, SPD will not “hold” a call to wait for a CIT-trained
officer. 911 dispatchers will first broadcast a CIT job, and then wait for a CIT-certified officer to
respond. If no CIT-certified officer is available, any SPD officer will respond. A recent assessment

18
     As of May 14, 2016, 58.2 percent of SPD’s patrol officers were CIT-certified.
19
     SEATTLE POLICE DEP’T, POLICE MANUAL § 16.110: CRISIS INTERVENTION IDENTIFICATION COURSE (Oct. 28, 2014).

                                                             12
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


by the Seattle Police Monitor found that under this procedure, SPD has been able to get CIT-
certified officers to mental crisis incidents approximately 71 percent of the time.20

        Likewise, at the beginning of each shift in the Los Angeles Police Department (LAPD),
officers log in to the Computer Aided Dispatch System, which is used to tell dispatch which
officers are on duty and what special skills they have, including CIT training, language skills,
domestic violence (DV) expertise, etc. A Radio Trafficking Officer (RTO) can look at those skills
and assign officers according to their skill sets. For example, if a domestic violence call requires
a Cantonese-speaking police officer, the RTO can identify officers with that language ability and
DV expertise in the Computer Aided Dispatch and dispatch an appropriate officer to the job.
LAPD is in the process of integrating this model into its existing mental health unit, so that officers
who make first contact with people in crisis are CIT-trained, as far as practicable.

         According to personnel in NYPD’s Information Technology Bureau (ITB), the City’s
Intergraph Computer Aided Dispatch (ICAD) system currently lacks the technological capacity to
facilitate the identification of patrol officers with special skills such as CIT training. NYPD reported
to OIG-NYPD that ICAD was not designed for this function, and such customization would involve
considerable costs, time, and testing.21 Indeed, the ICAD system is central to New York City’s
emergency communications infrastructure, and any changes to ICAD would require careful
planning. To date, the Department has been unable to provide a cost estimate or price range for
such upgrades.22 While the cost-benefit analysis of such a change is solely the province of NYPD,
which knows all competing demands, the sheer number of mental health crisis calls in New York
City each day, the value in lives saved, and the litigation that could be avoided by having specially-
trained officers appropriately deployed should all be factored into any such cost-benefit analysis.
The experiences of other jurisdictions suggest that the benefits of a more targeted and integrated
police dispatch system may be worth the investment with respect to handling mental crisis calls,
although NYPD is best positioned to understand the full scope of its competing budgetary
priorities and make an appropriate judgment about such expenditures. Meanwhile, in New York
City, NYPD receives, on average, more than 400 mental crisis calls a day—calls that are currently
being handled without the ability to dispatch the Department’s specially-trained CIT officers to
the scene.




20
   MERRICK J. BOBB, SEATTLE POLICE MONITOR, FIFTH SYSTEMIC ASSESSMENT: CRISIS INTERVENTION 18 (2016).
21
   ITB personnel indicated that the classification system for many of the Department’s 250,000 police vehicles would
have to be changed and that such large-scale changes to the highly complex ICAD system, if not done properly, could
affect the functionality of other critical ICAD components.
22
   In 2004, the City commenced an overhaul of the existing 911 system which ultimately cost over $2 billion and took
over ten years to complete. Unfortunately, despite the fact that CIT programs began emerging nationwide in the
1980s and 1990s, NYPD had not yet begun to implement a CIT initiative at the time of the 911 system overhaul.

                                                        13
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                            JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


        As an alternative to making these technical changes to the 911 system, NYPD has recently
indicated to OIG-NYPD that the Department is considering implementing a workaround measure
to inform dispatchers which patrol cars contain CIT-trained officers, to increase the likelihood
that trained officers are sent to mental crisis calls.23 While this idea may be an adequate first
step in CIT assignment if it is actually implemented, NYPD should establish clear protocols and
conduct regular assessments of its effectiveness, in order to ensure that the process is working
as intended. Over the long term, however, both NYPD and the public would probably be better
served by a more integrated dispatch system, as exists in other cities such as Seattle and Los
Angeles.

        B. NYPD IS NOT CURRENTLY COORDINATING AND INTEGRATING ITS CIT EFFORTS
           DEPARTMENT-WIDE

        NYPD does not currently coordinate its CIT initiative Department-wide. It is essential that
a department have a dedicated program coordinator to implement and institutionalize CIT
throughout the agency’s operations. Under the Memphis Model, a CIT coordinator represents
the primary supervisor within the law enforcement agency charged with “assisting, implementing
and sustaining” the various facets of the CIT program.24 These responsibilities include
coordinating CIT training, managing certified officers, liaising with community stakeholders, and
organizing CIT performance measurements and evaluation.25 Again, while NYPD has recently
stated that it may create this position in the future, it has not yet taken any steps to do so.

        In New York City, while NYPD’s Office of Collaborative Policing and DOHMH designed the
CIT training, no person or unit within NYPD is responsible for performing the day-to-day
management of CIT operations. The Office of Collaborative Policing helped to research and
design the CIT training, but it also oversees a number of other unrelated initiatives involving crime
reduction through the development of partnerships between NYPD and all New York City
communities. Therefore, any decisions made about the assignment of CIT-trained officers and

23
   As the idea was explained to OIG-NYPD, this workaround would require that 911 dispatchers receive a list of units
with CIT-trained officers in each precinct at the start of each tour. On December 8, 2016, NYPD issued a directive to
all commands stating that all platoon commanders, patrol supervisors, and desk sergeants should be made aware
of the officers in their commands who have completed CIT training, and “[w]henever feasible Patrol Supervisors will
utilize CIT trained Officers at the scene of EDP jobs.” The directive indicates that each command will receive an
updated list of CIT-trained officers each month. See NYPD DIRECTIVE TO COMMANDS ON CIT-TRAINED OFFICERS (Dec. 8,
2016). However, in order to increase the likelihood that CIT officers consistently arrive on the scene of a mental
health crisis in a timely fashion, each command will need to provide information to dispatchers about the CIT-trained
officers in each unit. NYPD has not yet committed itself to implementing such a process. In addition, given that this
workaround would involve 77 commands providing dispatchers with information three times a day (for each shift of
officers), it is more prone to human error than a more integrated technological system.
24
   THE UNIV. OF MEMPHIS CIT CTR., CRISIS INTERVENTION TEAM: LAW ENFORCEMENT COORDINATOR, at 1.
25
   Dupont, supra note 10, at 13.

                                                         14
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                                JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


CIT operations, if they are made at all, occur at the precinct or bureau level. Without a CIT
coordinator, the Department has no one to synchronize the program across multiple units or to
implement any of the broad changes that need to be made. In fact, without a coordinator, there
is no comprehensive, integrated CIT program: no one to ensure that 911 is directing CIT-trained
officers to every crisis call, no one to consider how to adjust the Department’s relevant policies
and Patrol Guide provisions on mental health responses, and no one to improve the
Department’s collection of data and analysis on the large number of crisis incidents that take
place in New York City. Without a coordinator, no single point of contact exists where officers
and members of the community can direct questions, concerns, or suggestions.

        Highlighting this need for internal coordination, while officers in the focus group that OIG-
NYPD conducted generally had a very positive view of their CIT training, they also offered a
number of ideas on how NYPD’s use of CIT could be improved. For example, with respect to
training, officers proposed the use of more “props like handcuffs,” “annual refresher courses,”
and “handouts on the mental illnesses they just learned about.” Nearly all of the officers in the
focus group indicated that they disliked having to bring people in crisis to emergency rooms, since
temporary stays at those places did not address the deeper issues of instability, especially among
the homeless. Yet currently, NYPD has no dedicated official to whom these officers can offer
their input.

        To illustrate the need for a single point of contact, community groups such as Community
Access, a mental health advocacy organization, reported to OIG-NYPD that while its
representatives have communicated with higher-level DOHMH and NYPD officials at quarterly
community forums, a “dedicated CIT coordinator” is essential to make this communication more
consistent and detailed. For example, in the wake of the Danner shooting incident, staff and
members of Community Access reported to OIG-NYPD that there was no effective vehicle for
advocacy organizations to get and receive information regarding the incident and to consider
possible reforms. In a number of other cities, there are standing committees such as Cleveland,
Ohio’s “Mental Health Response Advisory Committee (MHRAC),” where a CIT coordinator works
with a variety of community members and stakeholders to address issues.26

         Given the growing number of CIT-trained officers now in the field and the importance of
regular consultations with the extensive mental health advocacy community in New York City, it
is critical that NYPD prioritize establishing the CIT coordinator position. 27 In fact, the creation of

26
   See e.g., CLEVELAND DIVISION OF POLICE, GENERAL POLICE ORDER: CRISIS INTERVENTION TEAM PROGRAM (FINAL DRAFT) (Nov. 26,
2016).
27
   Several recent federal consent decrees that involve the implementation of a CIT program require the hiring of a
CIT coordinator. For example, the importance of having a CIT coordinator within CIT programs is addressed in the
consent decree with Ferguson, Missouri, which requires that within 180 days of its implementation, the department
designate an officer to “better facilitate communication between FPD [the Ferguson Police Department] and

                                                           15
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                      JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


a central CIT coordinator, if not an overall unit, has been instrumental in the formation of nearly
all full-scale CIT programs in the U.S., especially in large city police departments.

        For example, LAPD, under a 2005 consent decree, explicitly tasked the Mental Evaluation
Unit (MEU), housed in the LAPD’s Crisis Response Support Section (CRSS), with the responsibility
“to develop, improve, and maintain adequate systems for recognition and early intervention of
the mentally disordered and the developmentally disabled.”28 The MEU is comprised of several
smaller teams of LAPD officers (and some teams of co-responding mental health counselors) who
work together to respond to calls and incidents, track data, provide information to responding
officers, and develop long-term intervention strategies for certain cases. The head of the CRSS,
the Mental Illness Project Coordinator, has described how he is responsible for structuring and
organizing all of these elements, assessing, and if necessary, improving, how MEU’s resources are
deployed department-wide. In the complex and multi-tiered world of mental illness, MEU’s
Coordination Unit is also responsible for making connections across a number of different entities
outside of the department itself—with EMS, the Fire Department, citywide hospitals, diversion
centers, and advocacy groups.

        The Mental Illness Project Coordinator described how in the past year, MEU had
experienced hundreds of interactions with one person who was in nearly constant mental crisis;
the Fire Department and numerous mental health agencies were also having repeated
encounters with the same person. Together, these entities met to strategize on finding a solution
to this individual’s problems and, as a result, greatly reduced his interactions with the police.
Through such daily management, the MEU officer in charge also noted that he was responsible
for providing “real world” input to the LAPD’s Training Bureau, which was not “in touch” with
what was actually happening with mental illness “on the ground level.”

         In smaller cities, such as Seattle, a CIT coordinator, rather than an entire unit, maintains
primary responsibility for “examining, reviewing, and making recommendations to ensure the
CIT Program is implemented and sustained as a community program.” 29 As another example of
the critical role of a CIT point person, Seattle’s CIT coordinator engaged in discussions with the
city’s “Crisis Intervention Committee” (comprised of community advocates, social services,
facilities, and hospitals) and then performed a comprehensive data analysis of one particular


members of the area mental health community and to increase the effectiveness of the FPD’s crisis intervention
program.” See Consent Decree, U.S. v. Ferguson, 4:16-cv-000180, at *46 (E. D. Mo. 2016). The same timeline for
the hiring of a CIT coordinator was also required in the settlement agreement between DOJ and Cleveland, Ohio.
See Settlement Agreement, U.S. v. City of Cleveland, 1:15-cv-01046 (N. D. Ohio 2015).
28
   LAPD AND L. A. CNTY. DEP’T OF MENTAL HEALTH, MENTAL EVALUATIONS UNIT: OPERATIONS MANUAL, at 7 (2016).
29
   See Memorandum Submitting Consensus Seattle Police Department Crisis Intervention Policy, U.S. v. City of
Seattle, 12-cv-1282-JLR, at *3 (W. D. Wash. 2014).


                                                        16
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                          JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


county-run diversion facility. In doing so, after learning that the facility was being under-used by
police officers, the coordinator has worked with the county on strategies to address the problem.

        Without a CIT unit or coordinator, NYPD has no one designated to perform any of these
daily operations to improve the effectiveness of the CIT program—consistently connecting with
the community, liaising with outside agencies, making training adjustments, and conducting data
analysis. While NYPD has only recently indicated that it is considering the creation of a
coordinator position, the Department has not made a firm commitment or established any
timeline for the creation of such a position. Until this role is established, the ongoing absence of
coordination makes it less likely that any additional and significant elements of a comprehensive
CIT program will be incorporated in the near term.

        C. NYPD HAS NOT ADJUSTED ITS POLICIES TO REFLECT THE GOALS OF CIT PROGRAMS

        NYPD’s current policies and procedures governing how officers should manage scenarios
involving people in mental crisis are problematic and need revision. First, the existing
Departmental policies for responding to people in mental crisis, particularly those who have
barricaded themselves or otherwise refuse to be taken into custody, contains dense language
and are fragmented across three different Patrol Guide sections, making them potentially
confusing for officers to follow. More importantly, and directly relevant to this Report, NYPD’s
existing policies do not reflect the goals and approach now taught to officers in the new CIT
training. While both the existing policies and the new CIT training share the same goal of
resolving crisis incidents as safely as possible, the existing Patrol Guide policies emphasize
containment and placing the individual into custody. By contrast, CIT training places a higher
priority on engagement, de-escalation, officer discretion, and alternative dispositions.

        NYPD last updated its policies on responding to people in mental crisis—Patrol Guide
§216-05, §216-06 and §212-38—in 2013. Understandably, none of these old policies include any
reference to the CIT training currently being provided to officers. Instead, the primary policy,
Patrol Guide §216-05, focuses on what it refers to as “Emotionally Disturbed Persons” or “EDPs,”
which it narrowly defines as, “A person who appears to be mentally ill or temporarily deranged
and is conducting himself in a manner which a police officer reasonably believes is likely to result
in serious injury to himself or others.”30 Despite the Patrol Guide definition of an “EDP” as a likely
danger to self or others, however, the term “EDP” is also broadly employed in NYPD’s CIT training
both for potentially dangerous as well as compliant persons in crisis. 31 This definitional



30
  See NYPD PATROL GUIDE §216-05, at Appendix A.
31
  It should also be noted that the Patrol Guide policy also uses the term “EDP” for persons in crisis who are “not
immediately dangerous” and “unarmed, not violent and willing to leave voluntarily.” Id.

                                                        17
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                                JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


incongruency between written policy and NYPD’s CIT training has the potential to add further
confusion for officers in already complex and dynamic situations.

       The following chart sets forth NYPD’s current policies on mental health encounters with
“EDPs,” as compared to what is emphasized in NYPD’s CIT training, which mirrors national best
practices.32

                   Policy or Procedure33               Current NYPD             Current NYPD CIT
                                                           Policy                   Training

                 Establish a zone of safety                     ‫ط‬                         X


                        Assess threat                           ‫ط‬                         ‫ط‬

                          Take cover                            ‫ط‬                         X


                     Request additional
                                                                ‫ط‬                         ‫ط‬
                        personnel

                     Take into custody if
                                                                ‫ط‬                         X
                        non-violent

                     Isolate and contain                        ‫ط‬                         X


                   Request supervisor or
                                                                ‫ط‬                         X
                           ESU

                  Patrol supervisor takes
                                                                ‫ط‬                         X
                  operational command




32
    A “‫©ط‬in the chart indicates that the stated policy or procedure is included in the policy and/or CIT training, while
an “X” indicates that it is not included in the policy and/or CIT training.
33
    Clearly, some of the current NYPD policies—such as the need to isolate and contain or to establish a zone of
safety—may be appropriate and necessary for certain interactions with people who are engaged in behavior which
is likely to result in serious injury to themselves or others.




                                                           18
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


                Avoid provoking subject
                and take necessary time,                      ‫ط‬   ‫ط‬
                   establish dialogue

                    Assign designated
                                                              ‫ط‬   X
                         shooter

                 If no immediate threat,
                     no action without
                authorization of precinct
                                                              ‫ط‬   X
                     commander, duty
                    captain, or borough
                        commander

                  De-escalate if possible                     X   ‫ط‬

                 Ensure, when possible,
                   CIT-trained officer
                                                              X   ‫ط‬
                 responds to scene and
                       takes lead

                        Delineates
                    responsibilities of                       X   ‫ط‬
                    CIT-trained officer

                Information on potential
                 alternative dispositions,
                                                              X   ‫ط‬
                referrals, and community
                        resources

                   Allow officers to use
                    discretion to avoid
                                                              X   ‫ط‬
                   hospitalization when
                        appropriate




                                                        19
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                       JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


        As a result of these differences or inconsistencies, as currently worded, NYPD policies put
officers who have CIT training in the untenable position of either putting their training into
practice or abiding by directives that do not include the practices that they have learned.

        In addition to the confusion that these differences in emphasis might create for CIT-
trained officers, the current policies also fail to incorporate the priorities of a CIT program in other
ways. First, none of the current policies require or even suggest that a CIT-trained officer attempt
to respond to the scene of a crisis incident. In addition, for non CIT-trained officers and
supervisors, the policies do not indicate how and when they should request the assistance of a
CIT-trained officer, whenever it is possible. Finally, the policies do not provide officers with
guidance as to what alternative outcomes or services are available or appropriate for non-violent
people in mental crisis.

        In December 2016, NYPD stated that the Office of Management Analysis and Planning
(OMAP) was examining changes to the Patrol Guide. However, NYPD provided no timeline or
specifics on any actual policy changes.

        In contrast, nearly every other jurisdiction OIG-NYPD examined revised its departmental
policies to include definitions and procedures related to their CIT trainings and programs when
they were created. These policies often begin with an overall statement of values explaining the
priorities of a CIT program and objectives when encountering volatile situations. For example,
the Portland Police Bureau (PPB) describes the goal of such encounters as follows:

                 To de-escalate situations safely for all individuals involved when
                 reasonable, practical, and consistent with established safety priorities and
                 to attempt to resolve such incidents in as constructive and humane a
                 manner as possible. Members are expected to recognize behavior that is
                 characteristic of mental illness or crisis and particularly that which is
                 potentially destructive and/or dangerous, so as to respond in ways that
                 promote safety.34

         The policies of other police departments typically direct how CIT officers should be
dispatched to the scene of crisis events whenever possible and then detail the appropriate
procedures a CIT-trained officer should follow. These procedures vary by jurisdiction, but overall,
the policies stress that these officers should be assigned to incidents involving people in mental
crisis, that they should attempt de-escalation, and that they are trusted to potentially exercise




34
  PPB, DIRECTIVES MANUAL §0850.20: MENTAL CRISIS RESPONSE. The Akron Police Department (APD), MPDC, SPD, PHXPD,
LAPD, and MPD all also use CIT-related language to describe procedures for mental health response.

                                                        20
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


discretion during each encounter.35 The policies also often describe how both dispatchers and
non CIT-trained officers should respond to crisis incidents. In Seattle, for example, the policy
requires that officers make “every reasonable effort” to request the assistance of CIT-trained
officers, that communications dispatch at least one CIT-trained officer, and that if one is not
available, that non CIT-trained officers shall be dispatched, and a CIT-trained officer “shall
respond as soon as possible.”36

       In some departments, CIT policies also provide additional information for all officers,
whether CIT-trained or not, on alternative dispositions from the criminal justice system, such as
when and how to refer people to a “mental health agency,” “crisis hotline,” “service agency,” or
“halfway house,” or how to “consult with mental health or medical professionals,” and in the
process, divert people from the criminal justice system when appropriate – one of the major
goals of comprehensive CIT programs.37

        While New York City does not yet have diversion centers, other community mental health
resources do exist where individuals who have not committed crimes might be directed, as an
alternative to protective custody or hospitalization. In the focus group that OIG-NYPD conducted
with CIT-trained NYPD officers, some officers reported that when a request for additional support
(such as ESU) has not already been made, they occasionally use their discretion to avoid
transporting the person to an emergency room. Current NYPD Patrol Guide policy, however,
does not openly provide for such an option. NYPD’s Patrol Guide §216-05 only vaguely states in
its “Additional Data” section, “Refer persons who voluntarily seek psychiatric treatment to
proper facility,” but it does not give any context or guidelines for making such a decision.38 NYPD
should adjust its policies to direct officers on when and how to use their discretion to refer people
to these resources.39 Fortunately, NYPD has now started to provide officers with memo book
inserts that include contact information for mental health organizations at its CIT trainings, but it
35
   The Los Angeles Police Department (LAPD), Metropolitan Police Department (MPDC), Seattle Police Department
(SPD), Phoenix Police Department (PHXPD), Portland Police Department (PPB), and Memphis Police Department
(MPD) all provide officers with instructions concerning discretion and de-escalation in resolving an array of mental
health emergencies. In the Monitoring Team’s first semi-annual report about the Cleveland Police Department
(CPD), the department was likewise required to revise its policies, to mandate that CIT officers be dispatched to all
calls involving an individual in crisis, to reflect that CIT responses may be necessary even where the person in mental
crisis has committed a crime, and to indicate that officers should have the discretion to direct individuals to health
care rather than the judicial system. CLEVELAND POLICE MONITORING TEAM, FIRST SEMIANNUAL REPORT, at 41 (2016),
available at http://static1.squarespace.com/static/5651f9b5e4b08f0af890bd13/t/57505d172eeb81e389277c4d/
1464884005703/First+Semiannual+Report—2016 -06-02--FOR+RELEASE.pdf.
36
   See SPD, CRISIS INTERVENTION, § 16.110-POL-5(1)-(2), at Appendix B.
37
    See e.g., SPD, CRISIS INTERVENTION, § 16.110-Pol-5 (4); PHXD, INDIVIDUALS WITH MENTAL OR PHYSICAL DISABILITIES,
OPERATIONS ORDER 4.15(H); LAPD, DEPARTMENT MANUAL VOLUME IV (revised By Special Order No. 6, 2016).
38
   NYPD PATROL GUIDE §216-05, supra note 30, at 4.
39
   DOI routinely investigates not-for-profits that do business with the City and/or provide services at the City’s
behest. These investigations demonstrate the importance of careful vetting of such organizations and, to the extent
that NYPD chooses to rely upon these referrals, such vetting would take on the highest level of importance.

                                                          21
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                            JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


should begin to provide these lists for all of its officers, and reference how and when to use them
in the Patrol Guide itself.40

                                     The Use of Officer Discretion:
                            The Los Angeles Police Department (LAPD) Policy

        LAPD’s “Contact with Persons Suffering from a Mental Illness” policy states that “the goal
of the Department is to provide a humane, cooperative, compassionate and effective law
enforcement response to persons within our community who are afflicted with mental illness.
The Department seeks to reduce the potential for violence during police contacts involving
people suffering from mental illness while simultaneously assessing the mental health services
available to assist.”41 While LAPD has a number of different sub-units within its MEU, the
department’s policies do not focus on the detention of individuals in every circumstance.42
Instead, LAPD allows patrol officers to determine what the appropriate disposition to calls should
be by answering a few basic questions for every case, such as:

x    Are there indicators of mental illness?

x    If so, is the subject a danger to self, others, or gravely disabled?

x    Does probable cause exist to involuntarily detain and transport the subject to a mental health
     facility?

        If officers find insufficient probable cause, LAPD advises them to provide the person
and/or their family with referral resources, such as the Los Angeles County Department of Mental
Health ACCESS line or the LAPD MEU 911 Checklist. Barring certain exceptions, officers are also
instructed to transport the person in mental crisis to the place where he or she was originally
detained, if that person is being released without being booked or cited.43



40
   Until recently, NYPD was not consistently providing officers with a full list community resources even at its CIT
trainings. This was despite the fact that other NYPD programs were disseminating local community resource
information in other contexts. For example, through its current neighborhood policing pilot program, Neighborhood
Coordinating Officers (NCOs) are given “Services and Resource Guides” that include contact information for mental
health resources, both citywide and in particular neighborhoods. By providing officers with a list of resources for
exercising their discretion to address mental health crises that clearly do not warrant jail or hospitalization, NYPD
can enable officers to serve individuals more effectively.
41
   LAPD AND L.A CNTY. DEP’T OF MENTAL HEALTH, MENTAL EVALUATION UNIT (MEU): OPERATIONS MANUAL, at 9.
42
   All LAPD officers undergo 40 hours of CIT training, with specialized units receiving additional training.
43
   LAPD AND L.A. CNTY. DEP’T OF MENTAL HEALTH, supra note 41, at 24.


                                                         22
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


        NYPD’s reluctance until December 2016 to consider creating a new official policy
regarding CIT or to adjust current policy reflects NYPD’s failure to recognize that the benefits of
CIT cannot be fully realized with an isolated training program. Instead, CIT should be designed
to produce a cultural shift within the police department that leads to better and safer police
interactions with people in mental crisis. Not only are the overall goals of a CIT program absent
from the Patrol Guide, NYPD is also effectively training a subset of patrol officers in CIT without
providing any policy guidance on how they can and should use the CIT training and methods when
responding to calls for service. Moreover, the lack of Patrol Guide policies on CIT leave non CIT-
trained officers and patrol supervisors with little guidance on how to request, support, or manage
CIT-trained officers in crisis scenarios.

        The policies and procedures that govern a CIT initiative are essential to creating
operational and cultural change in a police department—especially a department as large and
complex as NYPD—because those measures provide written guidance to officers on the actions
to be taken during critical mental health encounters. Written policies are also essential in holding
officers, supervisors, and the Department as a whole accountable to the public that they serve.

        D. NYPD’S FORM FOR CRISIS INCIDENTS WILL NOT ALLOW FOR ADEQUATE DATA
           ANALYSIS OF ITS CIT INITIATIVE

        Given the number of calls and incidents involving NYPD officers coming into contact with
people in crisis every day, comprehensive data tracking and analysis emerge as equally critical
aspects of an effective CIT program. Encounters with these vulnerable populations are sensitive
and prone to rapid escalation, requiring stringent measures to monitor officer performance and
assure the quality of training designed to teach officers to mitigate the risks posed by these often-
volatile incidents. In particular, robust data collection and analysis can assist NYPD in achieving
a number of short and long-term goals: measuring officer performance, identifying people with
a greater likelihood of repeated contact with CIT-trained officers, allowing the Department to
respond to the changing environments of the mental health issues most present, and
continuously improving the quality of both its CIT training and the operational aspects of a full-
fledged CIT program.

       In order to comprehensively evaluate a CIT program, a police department must
consistently collect detailed data on each encounter between a CIT-trained officer and a person
in mental crisis. Currently, however, NYPD does not systematically collect such detailed data that
would allow for a meaningful analysis.

       Instead, NYPD relies primarily on its “AIDED card” database to track encounters with
people in mental crisis. An AIDED card is prepared for any assignment in which a subject receives
medical treatment but is not arrested, and it is not specific to people experiencing mental crises.

                                                        23
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


The AIDED card contains only the person’s basic pedigree information (name, sex, race, age), the
incident location, and check boxes to indicate whether the subject was an “EDP,” whether there
was any “prior history” for the “EDP,” and the “EDP’s” actions (i.e., “attempted physical harm to
self,” “attempted physical harm to others.”)44 In addition, when ESU arrives on a scene, it uses
its own separate form to track each of its assignments. ESU’s form also includes a checkbox to
indicate whether the person was an “EDP,” as well as whether the person was barricaded, what
equipment was used, whether the person was transported to the hospital, and again, a brief
narrative section.45 This form is also only completed in the minority of incidents when ESU
actually arrives at the scene. Neither form contains any fields that are specific to CIT techniques,
and they collect limited, if any, information about the person’s behaviors or de-escalation
techniques used by the officer. These two forms, therefore, provide little trackable information
about the details of each encounter.

         In addition to a lack of detail on its primary forms, any additional information that does
exist on these encounters is fragmented across numerous Department documents, depending
on the particular circumstances of each incident. The forms officers complete may include, for
example, the Unusual Occurrence Report, the Medical Treatment of Prisoner Form, the Criminal
Complaint Report, the Arrest Report, and the new Use of Force report known as the Threat,
Resistance or Injury (TRI) Incident Worksheet.46 As a result, while NYPD may have the ability to
cull some CIT-related information on crisis incidents from its various forms, without a unified
form, these data are inconsistent and varied. For example, while there were approximately
157,000 crisis calls made to NYPD in 2016, only 19,328 corresponding AIDED cards were
generated. This discrepancy may stem from a variety of circumstances, such as the number of
crisis calls that did not result in medical attention. But the difference may also partly arise from
the fact that AIDED cards are not filled out when a person is arrested.47 In short, AIDED cards are
not a reliable proxy for tracking data on mental crisis encounters.

        Other police departments have introduced far more useful forms to gather data on
encounters between their officers and people in crisis. For example, LAPD requires officers to
complete a report specific to each crisis encounter. The form tracks information such as pedigree
information, known mental history, behaviors and symptoms exhibited by the person, incident
disposition, and a narrative section. The information is then stored in a confidential database,



44
   See NYPD, NYPD AIDED REPORT WORKSHEET, at Appendix C.
45
   See NYPD, NYPD EMERGENCY SERVICE UNIT, ESD2 FORM, at Appendix D.
46
   NYPD has traditionally maintained all of these myriad forms in various distinct and isolated databases, complicating
the process of analyzing data from a single incident across different reports. The Department is in the process of
merging these databases onto a unified platform called FORMS which should increase NYPD’s capacity to analyze
and compare data across different forms.
47
   In an interview with OIG-NYPD staff, personnel from NYPD’s Office of Management, Analysis and Planning (OMAP)
indicated that officers sometimes will not fill out the AIDED form even when medical transport is made.

                                                          24
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


separate from the database used to track criminal subjects.48 These forms not only effectively
track data, but also allow LAPD officers to learn the background of people in the community who
have had repeated encounters with the police because of their mental illness by accessing this
information at LAPD’s “triage desk.”49

         Likewise, the Seattle Police Department uses a contact report unique to mental health
encounters.50 This report tracks numerous details of each incident, including the nature of the
crisis, behaviors and weapons displayed by the person, techniques, equipment, or force used by
the officer, injuries sustained by the officer and the individual, and the incident outcome.51 The
form additionally includes a narrative section to allow the officer to fully document the incident.52

        Like these departments, NYPD should either substantially revise one of its current forms
or adopt a separate, unified tracking form designed to capture specific data about mental crisis
encounters. The form need not be overly burdensome but should elicit certain basic information,
including, at a minimum, whether the officer is CIT trained, the type of mental crisis encountered,
techniques used by the officer, what if any force was used, and the encounter’s outcome. In
doing so, NYPD can begin to collect and evaluate detailed information regarding a subject’s
actions and presentation, as well as the officer’s response.

        For instance, analyzing data from a specialized mental crisis form could help NYPD
measure the extent to which CIT-specific de-escalation and active listening techniques, as
opposed to force, are being used during encounters with people in mental crisis. This practice
would then allow NYPD to monitor officer compliance with CIT procedures, as well as assist
officers in developing their CIT skills by providing them with detailed assessments of prior
incidents. Likewise, these data could reveal a need to bolster training in certain techniques,
thereby enhancing the effectiveness of CIT training overall and improving long-term outcomes
beyond any one particular encounter. Finally, by tracking information related to the subject’s
behaviors and known mental health or substance abuse conditions, NYPD could more easily
identify emerging trends in both law enforcement practices and in the most prevalent medical




48
   See LAPD, MENTAL EVALUATION REPORT FORM.
49
   LAPD’s “triage desk” takes calls from patrol officers seeking assistance for managing situations involving people
with mental illnesses. A triage officer consults the MEU database to determine whether a person has a history of
police contact and provides advice accordingly.
50
   SPD, POLICE MANUAL § 16.110: CRISIS INTERVENTION (effective Oct. 28, 2014).
51
   See SPD, MENTAL HEALTH CRISIS CONTACT FORM, at Appendix E.
52
   Id.

                                                        25
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


conditions present in the city’s current environment.53 Of course, any such database collecting
data on mentally ill individuals would need to incorporate appropriate privacy protections.

        In other police departments using CIT, relevant forms allow for this sort of programmatic
analysis. For example, a breakdown of data by the LAPD in 2015 revealed that an indication of
mental illness existed in 14 of the 38 individuals that were shot by officers that year.54 Data from
SPD, by contrast, showed a very low number of CIT incidents where force was used against armed
individuals and revealed a high rate of successful de-escalation by CIT officers.55 PPB, meanwhile,
tracked how many people who had encounters with CIT-trained officers were re-arrested, re-
incarcerated, or completed chemical dependency treatment.56 The Phoenix Police Department
reported that it tracked CIT incident dispositions and detected an increase in the number of
people transported to diversion centers as opposed to hospitals. This led to an increase in the
delivery of more personalized mental health services, and allowed officers to return to patrol
more rapidly. In short, tracking CIT-related metrics can help measure the impact of the CIT
program and indicate where additional resources and attention are necessary.

        NYPD has emphasized to OIG-NYPD that it has partnered with the Mayor’s Office of
Criminal Justice and the City College of New York’s Institute for State and Local Governance to
begin considering how to track data and evaluate officers’ use of NYPD’s CIT training. As part of
its work, MOCJ is creating a more detailed form, with the aim of comparing the behavior of
officers who have been CIT-trained versus those who have not. MOCJ’s form, however, will be
temporary, as part of the mayoral initiative, and will not be fully incorporated into NYPD’s data
analysis. Therefore, while MOCJ’s efforts may prove valuable in the short term, without a
permanent, more detailed form to track a variety of data related to every CIT encounter, NYPD

53
   In addition to the CIT training currently being implemented, NYPD and DOHMH have also begun to develop and
deploy “co-response” teams to respond to the most serious incidents involving people in mental crisis. The co-
response model pairs a trained mental health clinician with CIT-trained police officers to provide a field response for
situations involving a mental crisis. The theory underlying the approach is that the dual presence of a clinician and
law enforcement personnel is preferable to just the police, so that police officers can manage any safety concerns
on the scene while the mental health professional can focus on delivering more acute psychiatric care. Currently,
ten CIT-trained NYPD officers are assigned to co-response teams, along with one lieutenant and a supervisor.
DOHMH has nine clinicians (seven line staff, one supervisor, and a director) participating in the co-response unit. A
critical component of co-response approach is tracking repeated emergency responses to the same person in mental
crisis. Co-response teams are designed to conduct both on-scene crisis response as well as follow-up visits to ensure
that people who become the focus of repeated mental crisis responses have access to the resources they need. This
method is only feasible and effective when law enforcement agencies accurately track crisis response data, with
appropriate privacy protections, further underscoring the importance of adequate data collection and analysis. OIG-
NYPD may evaluate NYPD’s co-response model in the future in order to assess the program’s effectiveness.
54
        LAPD,     USE     OF     FORCE     YEAR-END     REVIEW    EXEC.     SUMMARY        (2015),     available     at
http://assets.lapdonline.org/assets/pdf/UOFpercent20Executivepercent20Summary.pdf.
55
   Bobb, supra note 20, at 12.
56
   PPB BEHAVIORAL HEALTH UNIT, KEY PERFORMANCE MEASURES (2015).

                                                          26
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


cannot truly ascertain whether its CIT training is effectively meeting the needs of the community.
Likewise, the collection of data from NYPD’s CIT operations would enable external oversight
entities as well as community stakeholders to assess the ongoing impact of the CIT program going
forward.




                                                        27
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                         JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


     VI.     DEFICIENCIES IN NYPD’S CIT TRAINING

        Since NYPD first introduced its CIT training in June 2015, staff from OIG-NYPD have
observed the course on four separate occasions—during the pilot phase in September 2015, after
its Department-wide expansion four months later in December 2015, a year following its
establishment, in May 2016, and most recently, in December 2016. The box below describes
OIG-NYPD’s observations.


                      NYPD’s CIT Course: Lectures, Scenarios, and Officer Safety

       At present, NYPD’s CIT instruction consists of 32 hours over four days. The entire first day
and the mornings of the second, third, and fourth days are reserved for lectures on
communications techniques and a variety of mental illnesses, including their symptoms, common
treatment approaches, and their prevalence within the general public. The afternoons are
dedicated to attendee participation in scenario-based exercises with professional actors.57

         The first day of training is devoted to outlining effective communication tactics, the
importance of officer safety and mental health stability while on the job, and a weapons handling
presentation. Depending on the availability of volunteers, certain classes on the first day also
engage with panels of individuals who have interacted with NYPD while experiencing a mental
crisis. Direct interaction is commonly used in CIT programs to increase officer understanding and
empathy for people living with mental health conditions.

        On the second day of CIT training, the lecture portion of the presentation focuses on
further defining the issue of mental health through the lens of people suffering from various
types of mental illness. The lecture explores the long-term effects of deinstitutionalization in
New York, the high rates of illnesses like depression in the general population, and the vulnerable
state in which many people with psychological diagnoses live. Specific emphasis is placed on the
greater likelihood of people with mental illnesses remaining incarcerated for longer than more
stable offenders due to penalties received for behavioral violations, as well as their increased
rates of crime victimization. The instructors also refute many prevalent myths about people with
mental health difficulties and in doing so, attempt to reduce the associated stigma. Psychosis,
mood, and social anxiety disorders are also defined in detail.

       From the second day onward, officers participate in scenarios that draw upon the lessons
discussed during the morning lectures and are based on real-life incidents that NYPD officers
have encountered. For example, one exercise involves a scenario in which two officers were

57
  At thirty-two hours, NYPD’s current CIT training is eight hours short of the Memphis Model’s forty hours. Forty
hours is also required by all of the recent DOJ consent decrees that address CIT training.

                                                        28
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


assigned to a domestic incident involving a non-compliant person who refused to take his
prescribed medication and was actively hallucinating. While one family member attempted to
calm the affected relative, another phoned the authorities. Officers were required to use skills
gained from the CIT training, including active listening and the delivery of clear, concise
directions, to remove an angry family member from the scene and gain voluntary compliance in
transporting the hallucinating person to a hospital without using force.58 Finally, a post-scenario
review of the officers’ actions takes place, intended to reinforce the material covered.

        The lecture on the third day covers personality disorders, Post-Traumatic Stress Disorder
(PTSD), and suicide, while on the fourth day, instructors concentrate on the psychological
vulnerabilities that may arise during adolescence and old age. Conditions including autism and
dementia are discussed at length, as are the proper communication approaches to be used by
officers when encountering people who might not be capable of immediately understanding law
enforcement commands. Officers watch videos about how to structure such difficult
interactions, with narration offered by fellow officers and caretakers to underscore the most
effective ways to calm people in crisis. The training also focuses on the stress encountered by
officers on the job, the importance of their own mental health, and the resources that are
available through NYPD for officers having a difficult time.


         Over the period that OIG-NYPD staff attended the CIT training sessions, NYPD instituted
a number of changes. These changes included shortened presentations which used less technical
scientific language and more time spent reviewing age-specific conditions like dementia and anti-
social behavior in adolescence. The updated training also incorporated an expanded number of
scenarios and an increased emphasis on the effects of mental illness on officers in their daily
lives, as well as the services that are available to lend them support.

       These changes underscored the willingness of NYPD, through the training’s developers,
to enhance its content and presentation to improve its skill sets of officers. Overall, OIG-NYPD
found the training to be both well developed and very effectively presented. Likewise, in the
focus group that OIG-NYPD organized with officers who had attended the CIT training, nearly all
expressed satisfaction with the training.

        Overall, the focus group participants indicated that because of the CIT training, they felt
greater confidence in identifying mental health conditions and employing proper techniques to
manage people in crisis through means that would avoid using force when possible. For example,
officers stated that the training gave “a different perspective on how to talk to an EDP . . . how


58
  Almost every scenario that OIG-NYPD observed ended with the officer taking the person in mental crisis into
protective custody. This is consistent with current official NYPD policy under Patrol Guide §216-05, with respect to
people whom officers believe will cause serious injuries to themselves or others.

                                                        29
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                       JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


to scale down your reaction and show compassion.” Officers also reported that they “gained
more perspective” and learned how to “step back,” “practice active listening,” and “bring them
[people in crisis] down, to communicate more in depth than [the officer] was used to.” In both
basic content and presentation, NYPD’s CIT instruction appears to meet the standards of CIT
trainings nationwide.

        OIG-NYPD, however, identified five areas where the training could nonetheless be
improved, not necessarily in content, but in approach, to move the Department beyond its pre-
CIT training: the training of more officers, dispatcher training, officer interaction with individuals
living with mental illness, the development of a training manual or pamphlet, and the assessment
of officers’ retention of CIT skills learned in training.

     A. NYPD SHOULD CONSIDER TRAINING MORE OFFICERS IN CIT


        The percentage of officers to be CIT trained in a particular jurisdiction emerges as an
important issue to be considered. While the original Memphis Model suggested that 20 to 25
percent of patrol officers should be CIT-trained, other departments around the country have
recently sought to train more uniformed members. For example, Seattle has trained nearly 60
percent of its patrol officers in CIT, and a 2012 DOJ consent decree with Albuquerque set an initial
goal for the city to train 40 percent of field officers in CIT.59 NYPD has committed to training a
total of 5,500 officers in CIT. This number is exactly 25 percent of NYPD’s approximately 22,000
patrol officers.
        The geographic distribution of CIT-trained officers is just as important as the overall
percentage of patrol officers who are CIT trained. The appropriate number of CIT-trained officers
(patrol officers and sergeants) for each precinct will vary based on the average number of mental
health crisis calls each precinct receives. Therefore, NYPD should continually monitor and assess
the volume of CIT calls and response times in each precinct to determine whether the overall
number of CIT-trained officers and supervisors is appropriate.




59
   Bobb, supra note 20, at 12; Settlement Agreement, U.S. v. the City of Albuquerque, 1:14-cv-01025 (D. N.M.
2014). Other cities have reported higher rates of CIT-trained officers, including Houston at 50 percent and San
Antonio at 92 percent.       Dana Goldstein, Therapists in Blue, THE MARSHALL PROJECT, Dec. 2, 2014,
https://www.themarshallproject.org/2014/12/02/therapists-in-blue#.DHHulNPcA.

                                                        30
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


           B. 911 CALL TAKERS DO NOT RECEIVE SPECIALIZED CIT TRAINING

        NYPD should expand the trainings to include 911 call takers and dispatchers who receive
and process emergency calls from the public. While NYPD is best placed to assess the number of
hours and specific aspects of CIT that will suit the capacities and needs of its call takers and
dispatchers, the Department’s ability to assess accurately and quickly the needs of callers and
ensure the public receipt of prompt care is diminished if call takers and dispatchers do not have
any CIT training. The amount of training that 911 call takers and dispatchers receive varies across
the country: in Memphis, emergency call operators receive the same 40 hours of CIT training as
police officers; Houston uses a three-day course for call takers and dispatchers; and Los Angeles
provides eight hours of training to its communications personnel.

        A look at successful CIT programs around the country demonstrates that exposing
dispatchers and call takers to CIT training is essential to the implementation of a successful CIT
program.60 Communications personnel serve at the front line of responding to public requests
for assistance. Active listening skills and the ability to recognize the signs and symptoms of a
variety of mental health disorders can allow operators to help de-escalate situations. In addition,
even though Emergency Management Services (EMS) is also patched into these 911 calls,
communications personnel can aid in providing incident-specific information to responding
officers, while also assisting them in formulating a tactical plan for engaging subjects prior to the
police arriving on the scene.

       Currently, the training materials that NYPD call takers and dispatchers receive about
mental illnesses and those in mental crisis are too limited. Traditionally, the standard 45-day
course that NYPD dispatchers and call takers undergo prior to handling calls incorporates only
two hours of material related to people in crisis, coupled with a limited number of practice
scenarios addressing that content. NYPD has stated that it anticipates training 911 call takers
and dispatchers to better vet calls and transmit information and will start providing officers with
a one-day “Mental Health First Aid” training that is run by DOHMH. But the Department has no
timeline or written plan to start any such training, and it has maintained that it does not intend
to provide call takers or dispatchers with any aspects of the CIT training itself.

           C. OFFICERS UNDERGOING CIT TRAINING DO NOT ALL GET EXPOSURE TO PEOPLE
              LIVING WITH MENTAL ILLNESS

       Another shortcoming of NYPD’s CIT training is the inconsistent exposure of officers to
people living with mental illnesses. Such interactions are not available to every class of officers
completing NYPD’s CIT training. OIG-NYPD attended NYPD’s CIT training on four separate

60
     Dupont, supra note 10, at 12 and 15.

                                                        31
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                     JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


occasions. In September 2015, the training included a panel of individuals who have used mental
health services and had prior police interactions. However, in December 2015, the officers
instead viewed a video recording of such a panel. In May 2016, there was no panel at all, and in
December 2016, an in-person panel returned. Trainers informed OIG-NYPD that after the first
few trainings, the volunteer panelists were unable to attend every weekly CIT training session
due to the expense and difficulty of obtaining regular transportation to the training location.

        Interaction with individuals who have diagnosed conditions and have had contact,
negative or positive, with NYPD during vulnerable periods is a critical aspect of CIT training,
serving as a powerful tool to sensitize officers about the need for them to be empathetic and
tolerant. Officers in OIG-NYPD’s focus group made comments such as “I used to think that they
are all crazy. Now I understand the differences,” and “now I understand how they are feeling,
what they are going through.” While PowerPoint slides and scenarios can contribute to this
understanding, CIT trainings emphasize that interaction with people living with mental illness can
best contribute to this understanding. NYPD should therefore make a concerted effort to expand
the pool of volunteer panel members to ensure their regular availability or provide transportation
or a small stipend for volunteer panelists to address this challenge.61 Alternatively, or in addition,
NYPD should consider a strategy that has been employed in a number of other cities—having
officers visit mental health clinics or hospitals in order to interact with patients and providers. In
Memphis, Los Angeles, and Washington, D.C., this is a standard component of CIT training.

        D. NYPD DOES NOT CONDUCT ANY POST-TRAINING ASSESSMENT OF CIT-TRAINED
           OFFICERS

        Finally, NYPD’s CIT training course incorporates no internal assessment of its
effectiveness. NYPD offers neither an exam at the end of the training, nor an exposure evaluation
requiring officers to apply their new skills in staged scenarios, which would measure officers’
understanding and application of the training materials. At present, the only assessment of
NYPD’s CIT training is an officer satisfaction survey given at the conclusion of the course. The
Department does not use any analytical tools to assess which aspects of the training material
could be improved, what concepts officers struggle with, or which course components could be
streamlined or eliminated. Given that NYPD uses a formalized curriculum, the Department
should develop a data source from which assessments about the effectiveness of particular
course elements can be made. Jurisdictions across the nation have adopted such efforts as
standard practice. Currently, both the State of Georgia and Washington, D.C., require all officers
who attend the CIT training to take and pass a written examination at the end of the modules to
receive certification in the material. In Los Angeles, each officer goes through an individualized


61
  According to NYPD, the Department currently provides panel members with gift cards and is discussing how to
provide transportation options.

                                                        32
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                                           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


assessment of three scenarios in which they use the skills learned. When officers make mistakes
during the assessment, the trainers perform remediation in order to make sure the officers
understand their errors. NYPD should conduct a comprehensive assessment of all newly-trained
CIT officers, given the complicated nature of CIT training and the conditions which it covers, even
if the Department does not plan on certifying its officers in CIT.

        E. NYPD DOES NOT PROVIDE A MANUAL OR REFERENCE GUIDE FOR OFFICERS
           UNDERGOING CIT TRAINING

         CIT-trained officers who participated in the OIG-NYPD focus group cited a desire to
receive a post-instruction reference guide, such as a manual or memo book insert.62 ESU officers
currently receive a reference guide after their Emergency Psychological Technician Training and
it could prove just as helpful for CIT-trained officers, in order to facilitate officers’ ability to retain
skills and knowledge over time. Only on the first occasion when OIG-NYPD attended NYPD’s CIT
training did the trainers provide copies of slide presentations to course attendees for note-taking
and reference. Distributing a handbook discussing the themes and content of the lecture
materials, resources for officers to recommend to the public, and effective tactics to defuse
difficult situations would enhance knowledge retention for officers. Such a manual or guide
would need to be updated as the CIT training, policies, and associated resources develop further.




62
  NYPD currently provides training participants with a three-page document that summarizes communication and
active listening skills with people in crisis but does not address any specific mental health conditions. NYPD has
stated that it is currently discussing providing a manual as well, but it has no specifics or timeline for doing so.

                                                        33
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                           JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


    VII.     RECOMMENDATIONS

        In order to address the sheer number of calls and encounters between NYPD officers and
people in crisis—approximately 157,000 per year, or more than 400 each day—NYPD needs to
go beyond the present CIT training. CIT is a program with a number of different elements:
training, assignment, coordination, and policies. When all of these elements work together, CIT
can fundamentally change and improve the way that officers respond to a crisis incident at any
given time.

      Accordingly, OIG-NYPD makes the following recommendations so that NYPD can best
move forward to create a viable CIT program in the near future.

NYPD Should Set Firm Internal Timelines for the Implementation of All Changes to its CIT
Initiative

    1. NYPD should commit to creating timelines for any changes to its CIT initiative within 90
       days of the publication of this Report. NYPD has informed OIG-NYPD that it agrees with
       the majority of the recommendations in this Report. While NYPD has acknowledged the
       need for these changes, the Department should now commit to enacting these reforms
       by setting firm deadlines with definitive dates of expected completion. OIG-NYPD
       understands that some reforms may take longer than others. While the development or
       substantial revision of one of NYPD’s data collection forms may take a significant amount
       of time, the provision of a reference guide to officers at CIT trainings should take much
       less.

NYPD Should Ensure that, When Available, a CIT-Trained Officer Responds to Every Mental
Crisis

    2. NYPD should adjust its dispatch procedures to ensure that officers with CIT training are
       directed to crisis incidents. NYPD should make the necessary changes to its dispatch
       procedures so that when a call regarding a mental crisis comes in, a CIT-trained officer is
       assigned to the scene, whenever possible. This will increase the likelihood that the first
       officer who responds to the location has the appropriate skills and knowledge learned in
       CIT training and can successfully de-escalate the situation rather than use force.




                                                        34
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                              JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


NYPD Should Start Coordinating its CIT Efforts Department-Wide

    3. NYPD should create a dedicated mental health unit, or at the very least appoint a CIT
       coordinator who holds the rank of chief, in order to manage all aspects of a CIT program.
       This unit or person, once in place, should actively solicit input and suggestions from
       officers, the public, the mental health community, and other criminal justice bodies
       through the creation of a working group or stakeholder committee. At the same time,
       this unit or individual should move forward with all of the crucial missing aspects of
       NYPD’s current CIT effort. In particular, this role requires the capacity to plan, implement,
       and improve the Department’s CIT training, policies, and data collection and analysis.
       With the leadership of such a unit or official, NYPD can maximize the opportunities that a
       full CIT program presents and can more effectively improve the response of officers to
       people in crisis.

NYPD Should Adjust its Patrol Guide to Reflect the Purpose and Goals of a CIT Program

    4. NYPD should revise its Patrol Guide to explicitly authorize CIT-trained officers to use the
       skills learned in CIT training during crisis situations. The NYPD Patrol Guide needs to
       provide guidance to officers by referencing the use of CIT skills such as subject
       assessment, active listening, rapport building, and de-escalation, all of which have been
       shown to reduce the likelihood that force is used during crisis incidents.

    5. NYPD should revise its Patrol Guide to require that CIT-trained officers respond to all
       crisis incidents whenever possible. NYPD should adjust the Patrol Guide to prioritize the
       arrival of a CIT-trained officer to all crisis scenes. In particular, the Patrol Guide should
       require the dispatch of CIT-trained officers to all crisis scenes whenever it is possible, and
       should also provide guidance to non CIT-trained officers and supervisors on how and
       when they should request the assistance of these officers.

    6. NYPD should revise its Patrol Guide to allow all officers to use their discretion to refer
       individuals to officially approved and vetted outside community resources in
       appropriate incidents. The Patrol Guide procedures currently in place focus on having
       officers ultimately resolve incidents by placing the person in mental crisis into custody.
       The current policy does not direct officers to use their discretion to consider options other
       than hospitals, when appropriate. The policy should provide officers with guidance on
       when the use of discretion is appropriate and how to use community resources when
       people in crisis are not considered a threat to themselves or others.




                                                        35
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                             JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


NYPD Should Collect and Analyze More Detailed Data about Incidents Involving Persons in
Crisis

    7. NYPD should either substantially revise one of its current forms or develop a new
       permanent form to capture more useful data on incidents involving persons in
       crisis. This new incident form need not be burdensome to complete, but it should collect
       information such as the type of mental crisis that the officer believes is being
       encountered, the techniques employed by the officer, what if any force was used, and
       the resolution of the encounter. NYPD should require officers to complete the form for
       all mental health crisis incidents.

    8. NYPD should analyze data regarding mental crisis incidents. In order to be able to better
       respond to mental crisis incidents, NYPD needs to analyze data on the deployment of
       offices, and then the nature, frequency, and disposition of incidents. This analysis should
       be done in order to measure the extent to which CIT skills and policies are being used and
       followed by officers, to assess the need to revise the content of the Department’s CIT
       curriculum and policies, and to identify the most prevalent mental health conditions
       currently present in the City.

NYPD Should Train 911 Call Takers and Dispatchers in CIT and Update Its CIT Training to Address
Deficiencies in Its Content and Presentation

    9. NYPD should consider training more officers in CIT. While NYPD has set an initial goal of
       training 5,500 officers (25 percent of its patrol division) in CIT, the Department should
       consider training more officers in CIT as it monitors the rates of mental health crisis calls
       and response times in each precinct. Better collection and analysis of CIT data (see
       Recommendation #8), will allow the Department to continually reassess the CIT staffing
       needs of each precinct and make appropriate adjustments where necessary.

    10. NYPD should begin training 911 call takers and dispatchers in at least some aspects of
        CIT. 911 call takers and dispatchers need to be provided with some of the skills that are
        emphasized in CIT trainings, such as active listening and the ability to recognize the signs
        and symptoms of a variety of mental health disorders. These call takers and dispatchers
        should obtain these skills through targeted CIT training in order to ensure that the
        appropriate information also becomes available to responding officers.

    11. In every CIT training, NYPD should ensure that its officers interact with people living
        with mental illnesses. Interaction with individuals who have diagnosed mental health
        conditions and have had contact with NYPD in the past is a critical way that CIT training
        teaches officers to be empathetic and tolerant towards people living with mental

                                                        36
PUTTING TRAINING INTO PRACTICE: A REVIEW OF NYPD’S APPROACH                             JANUARY 2017
TO HANDLING INTERACTIONS WITH PEOPLE IN MENTAL CRISIS


        illnesses. This interaction cannot be an irregular component of CIT trainings but should
        be required, and should take place at the Police Academy, at hospitals, or at mental health
        clinics.

    12. In every CIT training, NYPD should assess the retention of officers’ skills. To ensure that
        its officers are actually retaining the skills emphasized in their CIT training, NYPD should
        provide either a formal test or a scenario evaluation. This form of assessment can be used
        by the CIT coordinator in order to develop data about the content and effectiveness of
        the Department’s CIT training.

    13. NYPD should provide a manual or reference guide to officers who undergo CIT training.
        To facilitate retention of the knowledge and skills gained in CIT training, NYPD should
        provide a post-instruction manual or reference guide to officers for them to review or
        consult when needed.




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                Office of the Inspector General for the New York City Police Department
                New York City Department of Investigation
                80 Maiden Lane
                New York, NY 10038
                Telephone: (212) 806-5200
                www.nyc.gov/oignypd
                For general inquiries, please email inquiry@oignypd.nyc.gov
                For OIG-NYPD’s Press Office, please call (212) 806-5225 or email
                press@oignypd.nyc.gov
                For OIG-NYPD’s Outreach Unit, please call (212) 806-5200 or email
                outreach@oignypd.nyc.gov        37
APPENDICES
                           APPENDIX A

NYPD Patrol Guide §216-05: Mentally Ill or Emotionally Disturbed Persons
                                            ••• 216-05 •••

               MENTALLY ILL OR EMOTIONALLY DISTURBED PERSONS

                                    DATE EFFECTIVE: 09-28-07


PURPOSE

To safeguard a mentally ill or emotionally disturbed person who does not voluntarily seek medical
assistance.

SCOPE

The primary duty of all members of the service is to preserve human life. The safety of ALL persons
involved is paramount in cases involving emotionally disturbed persons. If such person is
dangerous to himself or others, necessary force may be used to prevent serious physical injury or
death. Physical force will be used ONLY to the extent necessary to restrain the subject until
delivered to a hospital or detention facility. Deadly physical force will be used ONLY as a last resort
to protect the life of the uniformed member of the service assigned or any other person present. If
the emotionally disturbed person is armed or violent, no attempt will be made to take the EDP into
custody without the specific direction of a supervisor unless there is an immediate threat of
physical harm to the EDP or others are present. If an EDP is not immediately dangerous, the
person should be contained until assistance arrives. If the EDP is unarmed, not violent and willing
to leave voluntarily, a uniformed member of the service may take such person into custody. When
there is time to negotiate, all the time necessary to ensure the safety of all individuals will be used.

DEFINITIONS

EMOTIONALLY DISTURBED PERSON (EDP) - A person who appears to be mentally ill or
temporarily deranged and is conducting himself in a manner which a police officer reasonably
believes is likely to result in serious injury to himself or others.

ZONE OF SAFETY - The distance to be maintained between the EDP and the responding
member(s) of the service. This distance should be greater than the effective range of the weapon
(other than a firearm), and it may vary with each situation (e.g., type of weapon possessed,
condition of EDP, surrounding area, etc.). A minimum distance of twenty (20) feet is
recommended. An attempt will be made to maintain the "zone of safety" if the EDP does not
remain stationary.

PROCEDURE

When a uniformed member of the service reasonably believes that a person who is apparently
mentally ill or emotionally disturbed, must be taken into protective custody because the person is
conducting himself in a manner likely to result in a serious injury to himself or others:

UNIFORMED MEMBER OF THE SERVICE
1. Upon arrival at scene, assess situation as to threat of immediate serious physical injury to EDP,
other persons present, or members of the service. Take cover, utilize protective shield if available
and request additional personnel, if necessary.

      a. If emotionally disturbed person's actions constitute immediate threat of serious physical
      injury or death to himself or others:

            (1) Take reasonable measures to terminate or prevent such behavior. Deadly physical
            force will be used only as a last resort to protect the life of persons or officers present.

      NOTE: Damaging of property would not necessarily constitute an immediate threat of
      serious physical injury or death.

      b. If EDP is unarmed, not violent and is willing to leave voluntarily:

            (1) EDP may be taken into custody without the specific direction of a supervisor.

      c. In all other cases, if EDP's actions do not constitute an immediate threat of serious physical
      injury or death to himself or others:

            (1) Attempt to isolate and contain the EDP while maintaining a zone of safety until
            arrival of patrol supervisor and Emergency Service Unit personnel.

            (2) Do not attempt to take EDP into custody without the specific direction of a
            supervisor.

2. Request ambulance, if one has not already been dispatched.

      a. Ascertain if patrol supervisor is responding, and, if not, request response.

      NOTE: Communications Section will automatically direct the patrol supervisor and
      Emergency Service Unit to respond to scene in such cases. Patrol supervisors' vehicles are
      equipped with non-lethal devices to assist in the containment and control of EDP's, and will
      be used at the supervisor's direction, if necessary.

3. Establish police lines.

4. Take EDP into custody if EDP is unarmed, not violent and willing to leave voluntarily.

PATROL SUPERVISOR

5. Verify that Emergency Service Unit is responding, if required.

      a. Cancel response of Emergency Service Unit if services not required.

6. Direct uniformed members of the service to take EDP into custody if unarmed, not violent, and
willing to leave voluntarily.

      NOTE: When aided is safeguarded and restrained comply with steps 25 to 32 inclusive.

WHEN AIDED IS ISOLATED/CONTAINED BUT WILL NOT LEAVE VOLUNTARILY:
PATROL SUPERVISOR

7. Establish firearms control.

      a. Direct members concerned not to use their firearms or use any other deadly physical force
      unless their lives or the life of another is in imminent danger.

8. Deploy protective devices (shields, etc.).

      a. Employ non-lethal devices to ensure the safety of all present (see "ADDITIONAL DATA"
      statement).

9. Comply with provisions of PG 212-38, "Hostage/Barricaded Person(s)," where appropriate.

10. Establish police lines if not already done.

11. Request response of hostage negotiation team and coordinator through Communications
Section.

12. Notify desk officer that hostage negotiation team and coordinator have been notified and
request response of precinct commander/duty captain.

13. Request Emergency Service Unit on scene to have supervisor respond.

14. If necessary, request assistance of:

      a. Interpreter, if language barrier

      b. Subject's family or friends

      c. Local clergyman

      d. Prominent local citizen

      e. Any public or private agency deemed appropriate for possible assistance.

      NOTE: The highest ranking uniformed police supervisor at the scene is in command and will
      coordinate police operations. If the mentally ill or EDP is contained and is believed to be
      armed or violent but due to containment poses no immediate threat of danger to any person,
      no additional action will be taken without the authorization of the commanding officer or
      duty captain at the scene.

EMERGENCY SERVICE UNIT SUPERVISOR

15. Report to and confer with ranking patrol supervisor on scene.

      a. If there is no patrol supervisor present, request response forthwith, and perform duties of
      patrol supervisor pending his/her arrival.

      NOTE: The presence of a supervisor from any other police agency does not preclude the
      required response of the patrol supervisor.
16. Evaluate the need and ensure that sufficient Emergency Service Unit personnel and equipment
are present at the scene to deal with the situation.

17. Verify that hostage negotiation team and coordinator are responding, when necessary.

18. Devise plans and tactics to deal with the situation, after conferral with ranking patrol
supervisor on scene.

DESK OFFICER

19. Verify that precinct commander/duty captain has been notified and is responding.

20. Notify Operations Unit and patrol borough command of facts.

COMMANDING OFFICER/DUTY CAPTAIN

21. Assume command, including firearms control.

22. Confer with ranking Emergency Service Unit supervisor on scene and develop plans and tactics
to be utilized.

23. Direct whatever further action is necessary, including use of negotiators.

[IO 20/08] 24. Direct use of alternate means of restraint, if appropriate, according to
circumstances.

WHEN PERSON HAS BEEN RESTRAINED:

UNIFORMED MEMBER OF THE SERVICE

25. Remove property that is dangerous to life or will aid escape.

26. Have person removed to hospital in ambulance.

     a. Restraining equipment including handcuffs may be used if patient is violent, resists, or
     upon direction of a physician examiner.

     b. If unable to transport with reasonable restraint, ambulance attendant or doctor will
     request special ambulance.

     c. When possible, a female patient being transported should be accompanied by another
     female or by an adult member of her immediate family.

27. Ride in body of ambulance with patient.

     a. At least two (2) uniformed members of the service will safeguard if more than one (1)
     patient is being transported.

     NOTE: If an ambulance is NOT available and the situation warrants, transport the EDP to
     the hospital by RMP if able to do so with reasonable restraint, at the direction of a supervisor.
     UNDER NO CIRCUMSTANCES WILL AN EDP BE TRANSPORTED TO A POLICE
     FACILITY.
28. Inform examining physician, upon arrival at hospital, of use of non-lethal restraining devices, if
applicable.

29. Safeguard patient at hospital until examined by psychiatrist.

     a. When entering psychiatric ward of hospital, unload revolver at Firearm Safety Station, if
     available (see PG 216-07, "Firearms Safety Stations At Psychiatric Wards And Admitting
     Areas").

30. Inform psychiatrist of circumstances which brought patient into police custody:

     a. Inform relieving uniformed member of circumstances if safeguarding extends beyond
     expiration of tour.

     b. Relieving uniformed member will inform psychiatrist of details.

31. Enter details in ACTIVITY LOG (PD112-145) and prepare AIDED REPORT WORKSHEET
(PD304-152b).

     a. Indicate on AIDED REPORT WORKSHEET, name of psychiatrist.

32. Deliver AIDED REPORT WORKSHEET to desk officer.

ADDITIONAL DATA

Refer persons who voluntarily seek psychiatric treatment to proper facility.

Prior to interviewing a patient confined to a facility of the NYC Health and Hospitals Corporation,
a uniformed member of the service must obtain permission from the hospital administrator who
will ascertain if the patient is mentally competent to give a statement.

Upon receipt of a request from a qualified psychiatrist, or from a director of a general hospital or
his/her designee, uniformed members of the service shall take into custody and transport an
apparently mentally ill or emotionally disturbed person from a facility licensed or operated by the
NYS Office of Mental Health which does not have an inpatient psychiatric service, or from a
general hospital which does not have an inpatient psychiatric service, to a hospital approved under
Section 9.39 of the Mental Hygiene Law.

Uniformed members of the service will also comply with this procedure upon direction of the
Commissioner of Mental Health, Mental Retardation and Alcoholism Services or his/her designee.

[IO 20/08] USE OF NON-LETHAL DEVICES TO ASSIST IN RESTRAINING EMOTIONALLY
DISTURBED PERSONS

Authorized uniformed members of the service may use a conducted energy device (CED) to assist
in restraining emotionally disturbed persons, if necessary.

Emergency Service Unit personnel will obtain the permission of the Emergency Service Unit
supervisor prior to utilizing a CED, except in emergencies.

Authorized members of the service will be guided by Interim Order 20, series 2008, "Use of
Conducted Energy Devices (CED)", when a CED has been utilized.

LESS LETHAL/RESCUE EQUIPMENT USE REPORT (PD 320-151) will be prepared whenever a
less lethal restraining device or rescue equipment is used by a uniformed member of the service in
the performance of duty.

The Commanding Officer, Investigation Review Section, will collate statistical information
recorded on the REPORTS, and will forward a monthly report to the Office of the Chief of
Department by the seventh (7th) business day of each month.

RELATED PROCEDURES

Aided Cases - General Procedure (PG 216-01)

Mental Health Removal Orders (PG 216-06)

Unusual Occurrence Reports (PG 212-09)

Investigation Of Carjackings (PG 207-32)

Unlawful Evictions (PG 214-12)

Hostage/Barricaded Person(s) (PG 212-38)

FORMS AND REPORTS

ACTIVITY LOG (PD112-145)

AIDED REPORT WORKSHEET (PD304-152b)

NON-LETHAL RESTRAINING DEVICE/RESCUE EQUIPMENT REPORT (PD320-150)

TASER/STUN DEVICE REPORT (PD304-150)

UNUSUAL OCCURRENCE REPORT (PD370-152)
                       APPENDIX B


Seattle Police Department Manual §16.110: Crisis Intervention
   APPENDIX C


NYPD’s AIDED Card
                        AIDED REPORT WORKSHEET
                        PD 304-152b (Rev. 11-98)
                                                         Pct.                Aided #

                     Jurisdiction
                     Code         ___ ___                 Card No.    of
          Date of Occ.         Time of Occ.                 Sex Race Age            Date of Birth


          Surname                                  First Name                                      M.I.


          Address                                      Apt. No.    City               State        ZIP


          Aided Homeless?          Telephone:
           Yes  No       Home: (                 )                      Work: (       )
          Place of Occ.:  in front of            opposite  inside of  subway at


           Subway Line:                           Is Aided victim of a crime?  Yes  No

           Sick/Injured Person       Emotionally Disturbed  Lost Person
           Sick/Injured MOS on Duty  Runaway Child          Unconscious
           Abused/Abandoned/         Bicycle Involved       Deceased
            Neglected Child/etc.       (Explain in Details)   Other (Explain
                                                                                    in Details)
          Medical Aid was: refused                    ACR/PCR #
          Removed To:     Hospital  Morgue  N/A
          (which?)______________________________________________
          Treated by                 Admission #: if unidentified and hospitalized


          Notification: Required if Aided is admitted or dies
          Name                                                              Relationship

          Address                                                           Phone

          If Notification Time            Date              Made by (Name/Tax #)
          Was Made:
          Children or Dependent Adults Uncared for?  Yes  No (If Yes:
          indicate their disposition under Details on the reverse of this card.)
          City Involved?  Yes           No       If Yes, Dept. or Agency Involved

          NOTE: If City may be involved, enter in Details: If M.O.S. witnessed incident and M.O.S.
          who examined scene, roadway/sidewalk condition and any contributing factors.
          Notifications to:  Harbor Unit  Missing Persons Squad
           _____Pct. Youth Officer  Emergency Service Unit
          Additional Reports prepared: (e.g., Domestic Incident Report, etc.)

          Complaint No.____________________________ Pct.__________________
          Exposure Report #_______________




PD 304-152b front.pmd                     1                                    9/5/2007, 1:13 PM
     If EDP: Prior History?       Yes  No  Unk.         Actions of EDP (Check all that apply):                   If CPR administered (by MOS):
     Attempted physical harm to self  Physically threatened others  Unable to care for self                     Mouth to Mouth      Yes No
     Attempted physical harm to others  Verbally threatened others       Other (specify)                         Aided resuscitated  Yes No
     Placed self in dangerous situation  Spoke of harming self or others
    O.C. Spray Used: Yes        No     If used, list in the Details section the rank, name, and tax registry number of each MOS who discharged spray.
    Details (for all Aided Cases): Give nature of any injury or illness. When CPR is administered by non-ESU MOS, identify MOS administering
    and list protective equipment used (e.g. mask, gloves, etc.).




    Reported           Rank   Name (Type or Print)                                    Tax #                 Command            Signature
       By:
    Reviewed           Rank   Signature                                               Tax #                 Command
        By:


PD 304-152b rear.pmd                 1                                                            9/5/2007, 1:28 PM
  APPENDIX D


NYPD’s ESU Form
        APPENDIX E


Seattle’s Crisis Contact Form
